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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )                   8:14CR54
                                                   )
       vs.                                         )                    ORDER
                                                   )
CHRISTIE CANTON,                                   )
                                                   )
                       Defendant.                  )

       This matter is before the court on the motion of defendant Christie Canton (Canton) to
review pretrial detention (Filing No. 78). Canton was detained pending trial of this matter following
a determination Canton had violated the conditions of her pretrial release (Filing No. 75). The court
held a hearing on the motion on August 12, 2014. Canton was present with her attorney, William
J. Bianco. The United States was represented by Assistant U.S. Attorney Kimberly C. Bunjer.
       Canton submitted a hair testing report indicating non-use of drugs for the past three months
(Filing No. 78 - Exhibit 1). The court is not impressed with such results. The Administrative Office
of the Probation and Pretrial Services Office of the United States Courts reports hair testing is not
the approved method of drug testing in the federal system and relies on urinalysis. See Filing No.
85 - Sealed. Canton tested positive for use of cocaine prior to her initial appearance. While on
release the Pretrial Services national lab (Alere) confirmed two of Canton’s urinalysis tests as
positive for cocaine. Canton initially denied any use of cocaine but finally admitted to use prior to
her initial appearance in Nebraska. Canton was arrested with 15.5 grams of cocaine, a scale,
baggies, and metal sifter in a traffic stop in Florida in the vehicle she was driving. While she denied
these items belonged to her, she was associating with individuals involved in drug trafficking.
Canton did admit to smoking marijuana in the vehicle before the traffic stop. See Pretrial Services
Violation Report, Filing No. 70 - Sealed. Canton is several months pregnant. Canton’s statement
she has not used controlled substances is not worthy of belief. There is no reason to believe
Canton would abstain from drug use or trafficking which would harm herself and unborn child.
Canton’s motion for release is denied.


       IT IS SO ORDERED.
       DATED this 15th day of August, 2014.
                                                       BY THE COURT:
                                                       s/ Thomas D. Thalken
                                                       United States Magistrate Judge
